









Affirmed and Opinion filed August 8, 2002









Affirmed and Opinion filed August 8, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NOS. 14-02-00372-CR,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
14-02-00373-CR, &amp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
14-02-00374-CR

____________

&nbsp;

MARCUS DEMOUCHETTE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 179th District Court

Harris County, Texas

Trial
Court Cause Nos. 880,015; 883,803; &amp; 879,397

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

Appellant entered a plea of guilty to three counts of
aggravated robbery.&nbsp; On March 27, 2002,
the trial court sentenced appellant to confinement for forty years in the
Institutional Division of the Texas Department of Criminal Justice on each
count, sentences to run concurrently.&nbsp;
Appellant filed a notice of appeal.








Appellant=s appointed counsel filed a brief in which he concludes that
the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18
L.Ed.2d 493 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; As of this date, no pro se response has been
filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed August 8, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do not publish C Tex. R. App. P. 47.3(b).





